               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

RHONDA JONES et al.,

             Plaintiffs,

       v.                                           CIVIL ACTION

                                                    NO. 1:20-CV-2791-JPB-CCB
VICTOR HILL et al.,

             Defendants.


               PLAINTIFFS’ REPLY BRIEF IN SUPPORT OF
               MOTION FOR PRELIMINARY INJUNCTION

      The jail described in Defendants’ brief (Doc. 41) bears little resemblance to

the one in which Plaintiffs are held.     Defendants claim to have implemented

comprehensive COVID-19 prevention measures, but their assertions are

contradicted by detainees who describe deplorable conditions and harrowing

accounts of illness and neglect. Neither do Defendants acknowledge that most of

their minimal mitigation measures occurred after this lawsuit was filed.

      Plaintiffs attach to this brief thirteen additional declarations from detainees

who would not recognize the jail described in Defendant Terrance Gibson’s

declaration (Doc. 41-1) as the one in which they are incarcerated. The declarations

show that Defendants and their officers ignore people who report COVID-19
symptoms; fail to isolate infected persons; fail to test many people, against their own

medical provider’s advice; fail to provide detainees with useable facemasks; fail to

provide sufficient quantities of soap and cleaning supplies; and fail to enforce social

distancing measures.

      As for Defendants’ claim that “statistically speaking,” there is “no COVID-

19 outbreak at the CCJ” (Doc. 41 at 4), that assertion crosses the line from partisan

wordsmithing to misrepresentation of fact. (Ex. A, Supp. Fefferman Decl. ¶ 7.)

Defendants’ description of the number of positive COVID-19 cases at the jail as

“low” is not supported by Defendants’ own data, which shows consistently high

COVID-19 positivity rates over several months. (Id. ¶¶ 7-10.)

      Plaintiffs are likely to succeed on the merits of their claims.             Given

Defendants’ insufficient response to the pandemic, members of the putative class

face an imminent risk of irreparable injury absent an injunction. The balance of

harms favors Plaintiffs because the risk of serious illness is substantial and the

proposed injunction is carefully crafted to give Defendants the responsibility in the

first instance for formulating and implementing “reasonably specific and detailed

written plans” to address deficient conditions. (Doc. 19-15 ¶ 1.) An injunction will

serve the public interest by protecting the rights and lives of people in the Jail.




                                           2
                            STATEMENT OF FACTS

      A.     Many of the Prevention Measures Described in Defendants’ Brief
             Are Not Actually in Practice in the Jail.

             1.    Defendants Have Failed to Identify, Isolate, and Treat
                   Infected Persons, Instead Leaving Them Inside Crowded
                   Cells Where They Spread the Virus to Others.

      According to Defendants, “[i]f any inmate shows symptoms of COVID-19

after intake,” the person is “separated from other inmates, medically evaluated in the

medical infirmary, and tested for COVID-19.” (Doc. 41 at 12.) Defendants are

silent regarding the testimony of numerous detainees who had precisely the opposite

experience. (Doc. 19-1 at 8-9, 21.) To give just a few examples:

   • In April 2020, F.S., who had no mask, was locked in a cell with a woman who
     experienced fever, vomiting, and coughing up blood. (F.S. Decl. ¶¶ 21-24.)
     F.S. became infected. (Id. ¶ 25.) She submitted a sick call request but did not
     see a nurse for a week. (Id. ¶¶ 25-26.) Although she reported her symptoms,
     she was left in her housing unit where she continued to congregate with others
     for food service. (Id. ¶ 25-27.) F.S. and her cellmate were symptomatic for
     two weeks, during which they were neither tested nor isolated. (Id. ¶ 27.)

   • In April 2020, D.H. experienced symptoms of COVID-19. (D.H. Decl. ¶ 20.)
     He reported his symptoms to a nurse but was not isolated or given a mask.
     (Id. ¶ 23.) For the next two weeks, he followed orders to perform his trustee
     functions while symptomatic. (Id. ¶ 24.) He spent twelve hours per day
     passing out meals in other housing units without a mask. (Id.)

   • In May 2020, W.L.M was placed in a cell, without a mask, with a man who
     had just been tested for COVID-19 and was symptomatic. (W.L.M. Decl. ¶
     18-19.) W.L.M. developed symptoms of COVID-19. (Id. ¶ 21.) He told a
     nurse about his symptoms but was not given a mask or isolated. (Id. ¶ 23.)


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     He experienced vomiting, diarrhea, and “immense difficulty breathing.” (Id.
     ¶ 28.) One night, he “felt as if [his] lungs were going to collapse” (id. ¶ 29),
     and “begged [an officer] for medical attention” (id. ¶ 32) but received none.
     (Id. ¶ 33.)

     More recent declarations show that Defendants still fail to isolate and treat

people with COVID-19 symptoms.

  • In July 2020, S.T. developed a fever, diarrhea, shortness of breath, and loss of
    the ability to taste. (S.T. Decl. ¶ 11.) Her cellmates experienced similar
    symptoms. (Id. ¶ 10.) S.T. reported their symptoms to officers “at each count
    within the first day of the onset of symptoms.” (Id. ¶ 12.) When one of S.T.’s
    cellmates became dangerously short of breath, S.T. banged on the cell door
    for assistance, but no one responded. (Id.) After three days of asking for help,
    S.T. saw a nurse. (Id. ¶ 13.) The nurse found that all three women had fevers,
    but S.T. and her cellmates remained in the housing unit. (Id. ¶ 14.) S.T. was
    not tested or isolated. (Id. ¶ 15-16.)

  • In July 2020, a man showing symptoms of COVID-19, including “severe
    coughing fits,” was moved into a cell shared by G.R. and R.C. (G.R. Decl. ¶
    7.) G.R. and R.C. repeatedly told officers that the new cellmate could infect
    them with COVID-19, but the symptomatic man was not moved for a week.
    (Id. ¶ 7-8.) R.C. then developed symptoms of COVID-19. (Id. ¶ 9.) R.C.
    reported these symptoms to officers and submitted sick call requests but was
    not moved. (Id.) G.R. then developed COVID-19 symptoms. (Id. ¶ 10.) He
    submitted sick call requests asking to be tested and evaluated but “never
    received any response” and was not tested. (Id.)

  • In July 2020, P.B. developed COVID-19 symptoms, including difficulty
    breathing and inability to taste or smell. (P.B. Decl. ¶¶ 6-7.) He told an officer
    but was not isolated or tested. (Id.) He then told a nurse about his symptoms
    and requested a test, but the nurse only took his temperature, gave him
    Tylenol, and sent him back to his cell. (Id.) Worried he would infect others,
    P.B. asked an officer to move him out of the housing unit. (Id. ¶ 7.) Instead,
    P.B. was moved within the same unit into a cell with two other men. (Id.) He
    was not tested. (Id.)


                                         4
    • In June 2020, J.J.L.’s cellmate developed COVID-19 symptoms. (J.J.L. Decl.
      ¶¶ 6-7.) After reporting his symptoms and asking officers for care for three
      days, the cellmate finally lay on the dorm floor for hours in protest until a
      nurse was called. (Id. ¶ 7.) Soon thereafter, J.J.L. experienced vomiting,
      fever, and other symptoms. (Id. ¶ 9.) He too sought medical care for days but
      was not taken to medical until an officer found him passed out on his cell
      floor. (Id. ¶¶ 9-11.) J.J.L. was returned to the dorm without being tested. (Id.
      ¶ 12.)

             2.     Many Detainees with Active COVID-19 Symptoms and
                    Recent Exposure to Infected People Do Not Receive Tests.

       Defendants claim that “[n]o inmates at the CCJ are denied a COVID-19 test.”

(Doc. 41 at 11.) 1 Detainees report otherwise. C.B. developed a fever and lost his

senses of taste and smell in late July. (C.B. Decl. ¶ 6.) He asked to be tested by

grievance, medical request, and verbal request. (Id.) C.B. states:

       A nurse came to my cell and took my temperature. She told me my
       temperature wasn’t high enough to bring me to the medical wing. I had
       no further contact from her or anyone else about my symptoms, which
       I continued to experience for weeks. I was not quarantined or provided
       with any medical care whatsoever. . . I have still never been tested for
       COVID-19. (C.B. Decl. ¶ 6.) 2

R.J. experienced COVID-19 symptoms in July 2020. (R.J. Decl. ¶ 7.) He submitted


1
  Defendants claim to provide testing to “any inmate who requests same, any inmate
with signs or symptoms consistent with COVID-19, and asymptomatic inmates with
recent known or suspected exposure to COVID-19.” (Id.)
2
  C.B. submitted a grievance asking for COVID-19 testing. (C.B. Decl. ¶ 19.) The
grievance was “pending” for a month, during which time C.B. submitted a request,
asking for a response to the grievance. (Id.) C.B. received no response, and the
grievance later “disappeared from the kiosk.” (Id.)

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three sick call requests but did not see a nurse for almost a month. (Id.) Regarding

testing, R.J. states:

       When I was called up to the medical wing, I told the nurse about my
       symptoms, which were causing me a lot of discomfort and fear. The
       nurse took my temperature and blood pressure and told me that I was
       “good.” I asked her if I could be tested for COVID-19, but she told me
       I had to have a fever to be tested. She then sent me back to my cell. I
       have never been tested for COVID-19. (R.J. Decl. ¶ 7.)

Plaintiff Singleton, F.S., A.W., J.H., L.P., P.B., and A.B. were also denied tests,

despite symptoms and/or exposure to infected people. 3 Indeed, Defendants are

failing to follow the advice of their own medical director, who recommended testing

“all new inmate[s] that are admitted to the jail.” 4

              3.        Detained People Still Lack Access to Useable Masks,
                        Minimally Adequate Quantities of Soap, and Cleaning
                        Supplies.

                        a.   Masks

       Defendants do not deny that they failed to issue most detainees facial

coverings, a critical prevention measure, for at least three months into the pandemic.


3
  See Singleton Decl. ¶ 10; F.S. Decl. ¶ 27; A.W. Decl. ¶¶ 40-44; J.H. Decl. ¶ 5; L.P.
Decl. ¶ 7; P.B. Decl. ¶ 6; cf. A.B. Decl. ¶¶ 7-14 (describing unsuccessful efforts over
the course of four months to get COVID-19 test, without success as of September
24, 2020).
4
  See Exhibit C, Email from E. Smith, July 20, 2020 (stating that “[a]s an intervention
to fight COVID-19, our medical director Dr. Clopton is recommending that we test
all new inmate[s] that are admitted to the jail.”).

                                            6
(Doc. 19-1 at 32; C.C. Decl. ¶ 22 (stating on June 25 that “[a]lmost no one has face

masks”); J.H. Decl. ¶ 26 (stating “many men in my dorm still did not have masks”

as of June 19); G.R. Decl. ¶ 5 (“I received one cloth mask in mid-July.”).) They are

silent on the fact that, from March through early July, elderly and medically

vulnerable people in their jail resorted to tying bits of torn underwear and ripped

sheets over their faces to protect themselves from a deadly virus. (See, e.g., Watkins

Decl. ¶ 35; Jones Decl. ¶ 14; Mitchell Decl. ¶¶ 19-20; Singleton Decl. ¶¶ 4, 8.)

      Defendants ignore all of that and claim (with no reference to the date of

alleged implementation) that “every inmate” is provided with two facemasks at

intake, a washable mask and a disposable mask. (Doc. 41 at 7-8.) They state that if

a detainee loses her mask, another “will be provided for free.” (Id. at 8.)

      It is true that more detainees have masks than did when this lawsuit was filed,

such that elderly people and cancer patients are no longer walking around the jail

with underwear tied over their faces. However, many detainees, such as J.J.L., still

have no mask. (See J.J.L. Decl. ¶ 5; L.P. Decl. ¶¶ 4-6.) Detainees do not receive

two masks and replacements are not available. (See id.) 5



5
  See also, e.g., R.J. Decl. ¶¶ 6, 15 (stating that he received one mask at intake in
July, his mask is now soiled, he has asked for a replacement, “officers told me that
they don’t have any more masks,” and his grievance asking for a new mask
“disappeared” from the kiosk); C.B. Decl. ¶ 7 (stating that he received a mask in

                                          7
       By way of further example, S.T. did not receive any mask when she entered

the jail in June and had none for weeks thereafter. (S.T. Decl. ¶ 7.) When F.B.

entered the jail on August 7, he received a previously used, “threadbare,” cloth mask,

on which “the straps were loose and stretched out.” (F.B. Decl. ¶ 4.) F.B. asked

several officers for a replacement without success. (Id.) W.G. is a 78-year-old man

arrested for a traffic offense, who spent four days in the jail in August and lacked a

functional mask until the last day of his incarceration. (W.G. Decl. ¶¶ 5-6.) And

P.B. states that as of September 17, three new arrivals in his dorm have no masks.

(P.B. Decl. ¶ 14.)

                     b.   Soap for Handwashing

      According to Defendants’ “protocol,” all incarcerated persons “are provided

multiple bars of soap for personal use and additional soap is available for

replacement” free of charge. (Doc. 41 at 7.) In practice, detainees are allotted four

ounces of liquid soap (not “bars”) per week, which is an insufficient quantity for

handwashing, showering, and in-cell cleaning. (J.H. Decl. ¶ 19; Watkins Decl. ¶ 15;

A.W. Decl. ¶ 17; F.S. Decl. ¶ 14.) 6 Contrary to Defendants’ claims, moreover (Doc.




June, has asked officers for a new mask multiple times, but has never received one).
6
  Many detainees must use their weekly soap allotment for in-cell cleaning and
laundry, in addition to personal hygiene. (Singleton Decl. ¶ 6; Watkins Decl. ¶ 15.)

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41 at 7), detainees are not able to get additional soap when needed. 7 Liquid soap at

the jail is strictly rationed, even as disease spreads. (Sparkman Decl. ¶¶ 56-58.)

                    c.     Cleaning Supplies and Sanitation

       Defendants claim that “each cell is cleaned and sanitized twice a day by the

inmates in the cell.” (Doc. 41 at 9.) For this purpose, detainees allegedly receive “a

broom, a mop, and a bucket that contains OPTIM 1 and/or bleach.” (Id.) Trustees

allegedly spray the toilet and sink twice a day with disinfectant solution. (See id.)

Here again, the purported protocol does not operate in practice.

    • C.B. cannot sanitize his cell twice a day because he lacks the supplies. (C.B.
      Decl. ¶¶ 12-13.) He has access once a day to a bucket of “black” water and a
      broom. (Id.) He usually does not have enough personal soap for cell cleaning
      since he must conserve it for showering and washing hands. (Id. (“I have only
      seen a trustee spray my sink and toilet once in the past month.”).)

    • R.J. has “[a]t no time” been provided twice a day with a broom, mop, and
      bucket with cleaning solution. (R.J. Decl. ¶¶ 10-11.) Once per day, he
      receives a bucket of dirty water. (Id. ¶ 10.) Despite his requests for additional
      cleaning solution, the last time a trustee sprayed the toilet or sink was “at least
      six weeks ago.” (Id. ¶ 10-11)

    • S.T. receives a mop, broom, and bucket of dirty water about three times per
      week, not twice a day. (S.T. Decl. ¶ 8.) Cell toilets are sprayed
      “infrequently.” (Id.)

    • F.B. has access once a day to a mop and bucket filled with water that “quickly

7
  See also C.B. Decl. ¶ 15 (stating that the only way to get more than the allotted
amount of soap per week is to barter with a trustee or purchase it); R.J. Decl. ¶ 8
(stating that “detainees . . . certainly don’t get free replacement soap”).

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      becomes filthy and unusable.” (F.B. Decl. ¶ 11.) F.B. does not have access
      to cleaning chemicals. (Id.) He states: “I have asked officers for cleaning
      supplies. The officers have told me to talk to the trustees, and the trustees have
      told me that they are not allowed to share cleaning materials with us.” (Id.)

             4.     Several of Defendants’ Purported Social Distancing
                    Protocols Are Not Implemented in Practice.

      Defendants claim that they now enforce social distancing, including by

distributing meals to each cell and requiring people to come out of cells for pill call

“one by one and separate six feet apart.” (Doc. 41 at 10.) As for court appearances,

Defendants claim that detainees remain in their pods until their case is called, and

then move to a holding area for a Zoom hearing. (Id. at 10-11.)

      Here again, Defendants’ alleged protocols are not implemented.                In a

declaration dated September 17, 2020, F.B. reports that detained people still must

congregate in crowds of people to receive food and medication.

      At mealtime, everyone in my tier necessarily lines up close to one
      another in order to get their food. If we don’t congregate in line to wait
      for our food, the officers will wait until we are in line before they start
      to distribute food trays. At pill call, people who get medications have
      to line up again. Jail staff do not encourage us to maintain social
      distancing at all. (F.B. Decl. ¶ 8.)

Similarly, in a declaration dated September 18, 2020, R.J. states that “[i]t is not the

case that all meals are delivered to each detainee’s cell.” (R.J. Decl. ¶ 13.) Rather,

“we all line up close together” to wait in line for food. (Id.) “There is no mention

of social distancing from the officers or the trustee workers.” (Id.) The jail “does

                                          10
not require, nor has it really attempted to implement social distancing at mealtimes

or pill call.” (S.T. Decl. ¶ 9.) Instead, people must line up or crowd around at

mealtimes and pill call. (Id.)

      Regarding court hearings, video stills from a recent date in magistrate court

(September 17) show twelve women (two of whom are in wheelchairs) crammed

together in a hallway awaiting court. (Ex. D, Screenshots from Court Appearances.)

A large crowd of men is visible in the background. (Id.) Consistent with Exhibit D,

P.B., described recently being crowded into a small cell with nine other people and

made to wait three hours for his case to be called.

      When we have a court appearance, we do not stay in our cells until our case
      is called. I went to court last Friday, September 11, 2020. I was taken to a
      single holding cell that is about 12 ft by 8 ft and was left there for over 3 hours
      with about nine other people while we waited for our court appearances.
      During this time, I had no ability to maintain distance from the other people
      in the small cell. There were no efforts to allow for social distancing while we
      waited to see the judge. (P.B. Decl. ¶ 11.)

      B.     The Jail’s Undisputed COVID-19 Data Shows an Alarming
             COVID-19 Positivity Rate at the Jail.

      There is a COVID-19 outbreak at the Jail. 8 Defendants cite data from May,


8
  See Supp. Fefferman Decl. ¶¶ 5-7 (“[T]he infections at the Jail clearly meet the
definition of an ongoing outbreak”); see also Exhibit E, Email from O. Adewale,
District Epidemiologist, Clayton County Health District, Georgia Department of
Public Health, Sept. 23, 2020 (“A confirmed case of COVID-19 in one or more
inmates or staff is counted as an outbreak.”).

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June, and July and conclude that “the number of positive cases in the CCJ has

remained low and stable.” (Doc. 41 at 15-16.) Far from showing a “low” number

of cases, the Defendants’ data shows a COVID-19 positivity rate of 27.1% in May,

18.75% in June, and 27.2% in July. (Id.) In the medical community, such positivity

rates “would not be reasonably characterized as ‘low.’” (Supp. Fefferman Decl. ¶

8.) Instead, they show that “mitigation efforts have demonstrably failed to prevent

ongoing spread.” (Id. ¶ 7.) 9



9
   With their response brief, Defendants submitted the declaration of Edward
Sweeney, a purported corrections expert. (Doc. 41-4.) Though the declaration is
cumulative of Defendants’ other evidence and plays a minimal role in Defendants’
response, Plaintiffs object to Sweeney’s declaration for two principal reasons. First,
the declaration does not contain proper expert opinions based on his expertise and
experience, but instead consists largely of factual recitations (see, e.g., id. ¶¶ 11-16,
18-20, 23-26, 42-44) legal conclusions (see, e.g., id. ¶¶ 7-8, 10), and impermissible
personal opinions and arguments about such matters as the true nature of “justice”
(id. ¶¶ 27-31) and the appropriateness of “a federal injunction” (id. ¶ 35). Courts
generally hold this kind of expert testimony improper. See, e.g., U.S. v. Frazier, 387
F.3d 1244, 1262-63 (11th Cir. 2004) (noting expert testimony generally unhelpful
when it consists of “what lawyers for the parties can argue in closing arguments”);
Montgomery v. Aetna Casualty & Surety Co., 898 F.2d 1537, 1541 (11th Cir. 1990)
(holding expert “may not testify to the legal implications of conduct”); Zurich Am.
Ins. Co. v. Hardin, No. 1:16-CV-2312, 2018 WL 5270356, at *3 (N.D. Ga. Mar. 14,
2018) (noting “an expert must conduct an independent analysis when reviewing
records” and “may not simply recite a witnesses’ testimony about the facts . . . and
refashion it as an expert opinion”). Second, Sweeney’s opinions are not reliable
because his declaration provides no indication about “how [his] experience leads to
the conclusion reached, why that experience is a sufficient basis for the opinion, and
how that experience is reliably applied to the facts.” See Addison v. Arnett, No. 2:13-
CV-71, 2016 WL 1441803, at *4 (S.D. Ga. Apr. 22, 2016) (citation omitted); see id.

                                           12
                                   ARGUMENT

I.    Plaintiffs Are Likely to Succeed on the Merits.

      A.    Plaintiffs Are Likely to Succeed on Their Deliberate Indifference
            Claims.

      COVID-19 presents an objectively serious risk to detainees. See Swain v.

Junior, 961 F.3d 1276, 1285 (11th Cir. 2020). (Fefferman Decl. ¶¶ 9-10; Rottnek

Decl. ¶¶ 25-27, 43-44.) Defendants are aware of that risk but have failed to take

reasonable steps to mitigate it. As discussed above, Defendants regularly deny

detainees access to testing, leave detainees known to be sick with COVID-19

symptoms in their cells, fail to supply masks to all detainees, and deprive detainees

of adequate cleaning and hygiene supplies. These failures unreasonably expose

detainees to a serious risk of harm.

      Defendants do not dispute that the risk of harm is serious 10 or that they are




(“The lack of analysis in [expert’s] report leads the Court to surmise that his
conclusion that Defendants ‘acted properly and exercised sound correctional
judgment’ is merely a personal opinion.”).
10
   To the extent Defendants argue that COVID-19 does not pose “a substantial risk
of serious harm” to the plaintiff class, they are incorrect. See Swain, 961 F.3d at
1285 (“Here, the defendants seem to agree—wisely, we think—that the risk of
COVID-19 satisfies this requirement.”); cf. Helling v. McKinney, 509 U.S. 25, 33,
35 (1993) (holding that “exposure of inmates to a serious, communicable disease”
that poses a risk of future harm is a sufficiently serious deprivation to invoke
constitutional protections).

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aware of the obvious risk. 11 They instead claim that they have addressed the known

risk by adopting a laundry list of “extraordinary” measures. 12 (Doc. 41 at 22.) As

discussed above, however, many of those measures are not in place at the Jail, as

reflected in sworn statements of numerous current and former detainees.

       The policies Defendants reference in their brief exist in word only and in

some cases are easily disproven by a YouTube search. (Ex. D.) At a minimum,

Defendants clearly “could have, but did not, take steps to minimize” the risk to

detainees. LaMarca v. Turner, 995 F.2d 1526, 1537 (11th Cir. 1993). Even if

Defendants took some responsive action, they disregarded and continue to disregard

simple steps to prevent and mitigate the virus.13 See Hale v. Tallapoosa Cty., 50

F.3d 1579, 1584 (11th Cir. 1995) (holding sheriff, despite taking some steps, could

be deliberately indifferent for disregarding “‘alternative means’ or interim measures


11
   See Farmer v. Brennan, 511 U.S. 825, 842 (1994) (“[A] factfinder may conclude
that a prison official knew of a substantial risk from the very fact that the risk was
obvious.”).
12
   Despite Defendants’ assertion that their actions were “prompt” (Doc. 41 at 1, 22),
the attached declarations are notable for the absence of dates on which these
measures allegedly went into place (Doc. 41-1).
13
   The differences between Swain v. Junior, 961 F.3d 1276 (11th Cir. 2020), and this
case are striking. In Swain, the jailers’ efforts included purchasing air purifiers,
installing industrial-grade sanitization equipment for disinfecting common areas,
conducting twice-daily temperature checks of detainees, releasing nearly 900
detainees, providing sufficient hygiene products, and other measures. Id.
Defendants’ efforts are nothing like those deemed sufficient in Swain.

                                         14
for reducing the risk”). 14 For example, Defendants do not promptly test, quarantine,

or provide medical attention to individuals who report COVID-19 symptoms. See

Mandel v. Doe, 888 F.2d 783, 788 (11th Cir. 1989) (holding “intentional refusal to

provide [medical] care” is deliberate indifference). Defendants even refuse to

follow their own medical director’s “highly suggested” recommendation that they

test all new arrivals to the Jail. (Ex. C.) These and numerous other failures to act

are objectively unreasonable and constitute deliberate indifference, 15 particularly in

the context of Defendants’ actions prior to this lawsuit. LaMarca, 995 F.2d at 1542


14
   Defendants erroneously argue that a “complete denial of [medical] treatment’ is
the only basis for establishing deliberate indifference. (Doc. 41, at 22-23 & n.14.)
As suggested above, however, jailers cannot disregard reasonable measures to
reduce a risk of serious harm to detainees. Accordingly, “a decision to take an easier
but less efficacious course of [medical] treatment” can support a deliberate
indifference claim. Dimanche v. Brown, 783 F.3d 1204, 1215 (11th Cir. 2015)
(quoting McElligott v. Foley, 182 F.3d 1248, 1255 (11th Cir. 1999)).
15
   See, e.g., Carranza v. Reams, No. 20-CV-00977, 2020 WL 2320174, at *10 (D.
Colo. May 11, 2020) (jail detainees had shown a substantial likelihood of success
despite defendants having implemented several important and proactive steps to
address the spread of COVID-19); Criswell v. Boudreaux, No. 120-CV-01048, 2020
WL 5235675, at *6 (E.D. Cal. Sept. 2, 2020) (same); Gray v. Cty. of Riverside, No.
5:13-CV-0444, 2020 WL 4243484, at *4 (C.D. Cal. Apr. 14, 2020) (same); Banks v.
Booth, No. CV 20-849, 2020 WL 1914896, at *11 (D.D.C. Apr. 19, 2020) (same).
Defendants’ contrary authority generally involves substantial proactive measures
not in place at the Jail, either on paper or in practice. See, e.g., Sanchez v. Brown,
No. 3:20-CV-00832, 2020 WL 2615931, at *7 (N.D. Tex. May 22, 2020) (use of
outside cleaners instead of trustees to professionally clean potentially infected
areas); Money v. Pritzker, No. 20-CV-2093, 2020 WL 1820660, at *5 (N.D. Ill. Apr.
10, 2020) (substantial reduction of detainee population).

                                         15
(holding an “institution’s historical indifference” is relevant in assessing deliberate

indifference). Plaintiffs have presented substantial evidence that Defendants knew

of and disregarded harmful jail conditions for months (Doc. 19-6; Doc. 19-11); that

Defendants failed to broadly issue masks until at least three months into the

pandemic (Doc. 19-1 at 32; J.H. Decl. ¶ 26; G.R. Decl. ¶ 5); that Defendants cannot

be trusted to implement their own policies (see Ex. B, Declarations of Thirteen

Detainees); and that most of the meager changes Defendants have made only

occurred after the lawsuit was filed (D.H. ¶ 36; G.R. Decl. ¶ 5; J.L. Decl. ¶ 7).

      Finally, even if (contrary to the weight of the evidence) Defendants had

implemented the policy changes they allege, Plaintiffs would still be entitled to

injunctive relief because a defendant’s “voluntary cessation of challenged conduct

does not ordinarily render a case moot.” Knox v. Serv. Employees Int’l Union, 567

U.S. 298, 307 (2012). To establish mootness, Defendants would have the “heavy

burden” of showing that conditions in the Jail would not revert to what they were

before this case was filed. Rich v. Sec’y, Fla. Dep’t of Corr., 716 F.3d 525, 532

(11th Cir. 2013). Here, Defendants have not demonstrated an unambiguous break

from their old policies, nor have they shown that any policy changes resulted from

substantial deliberation and have been followed consistently.         See id.    Thus,

injunctive relief is warranted regardless of Defendants’ alleged policy changes.


                                         16
       In sum, Plaintiffs are likely to succeed on the merits of their deliberate

indifference claim. 16

      B.     Plaintiffs Are Likely to Succeed on Their Habeas Corpus Claims.

      Defendants argue that habeas is unavailable in this case “for several reasons”

raised in their motion to dismiss. 17 (Doc. 41 at 28.) Accordingly, Plaintiffs

incorporate by reference the pertinent section of their response to the motion to

dismiss. (Doc. 37 at 40-43.) 18




16
   In a footnote, Defendants contend that “the decisional law applicable to prison
inmates applies equally to pretrial detainees.” (Doc. 41 at 17 n.12.) They are
incorrect. The Eleventh Circuit has declined to resolve whether, after Kingsley v.
Hendrickson, 135 S. Ct. 2466 (2015), liability for the unconstitutional treatment of
pretrial detainees continues to require a showing of subjective deliberate
indifference. Dang ex rel. Dang v. Sheriff, Seminole Cty., Fla., 871 F.3d 1272, 1279
n.2 (11th Cir. 2017) (“We cannot and need not reach this question.”). The logic of
Kingsley—that unreasonable results of intentional acts constitute punishment—
applies equally to jail-conditions cases.
17
   Contrary to Defendants’ claim that habeas corpus relief is not available, several
courts have left open the availability of habeas corpus relief under the unique
circumstances presented in this case. See, e.g., A.S.M. v. Donahue, No. 7:20-cv-62,
2020 WL 1847158, at *1 (M.D. Ga. Apr. 10, 2020); Gayle v. Meade, No. 20-CV-
21553, 2020 WL 1949737, at *26 (S.D. Fla. Apr. 22, 2020).
18
   Defendants also argue that release is unavailable because Plaintiffs’ rights are not
being violated (Doc. 41 at 25-26), and that “federalism concerns” and the “public
interest” weigh against release (id. at 26). As discussed in this brief, Plaintiffs have
established likely violations of their rights and releasing certain detainees will
promote rather than harm the public interest.

                                          17
      C.     Plaintiffs Are Likely to Succeed on Their ADA and RA Claims.

      Contrary to Defendants’ argument (Doc. 41 at 27), a disability discrimination

claim under the ADA and/or the Rehabilitation Act can be based on either a

conventional disparate treatment theory, or a theory that the defendant failed to make

reasonable accommodations, or both. Schwarz v. City of Treasure Island, 544 F.3d

1201, 1212 n.6 (11th Cir. 2008). Here, Plaintiffs allege that Defendants failed to

carry out their “affirmative duty to make reasonable accommodation to the known

physical or mental limitations of an otherwise qualified [person].” Nadler v. Harvey,

No. 06-12692, 2007 WL 2404705, at *4 (11th Cir. Aug. 24, 2007). This “affirmative

duty” includes making reasonable modifications to ensure people with disabilities 19

have equal access to the services, programs, and activities of the jail, including safe

housing, safe access to medical care, and safe adjudication of their criminal cases.

28 C.F.R. §§ 35.130(a), (b)(2,), (b)(7)(i); see Fraihat v. U.S. Immigration & Customs

Enf’t, 445 F. Supp. 3d 709, 748 (C.D. Cal. 2020) (disabled people in ICE detention

entitled to reasonable accommodations in order to participate in the “programmatic

‘benefit’” of the removal process). Because it is an affirmative duty, Defendants’


19
  Disability Subclass representatives are all people with disabilities protected under
the ADA and Rehabilitation Act. Each has one or more conditions that
“substantially impair” a “major life activity” or “major bodily function” as the ADA
and Rehabilitation Act require. 28 C.F.R. § 35.108.

                                          18
suggestion that they only need to provide accommodations when explicitly requested

must be rejected. See Nattiel v. Fla. Dep’t of Corr., No. 1:15-CV-150, 2017 WL

5774143, at *1 (N.D. Fla. Nov. 28, 2017) (prison officials were aware of plaintiff’s

disabilities and therefore had a “duty to accommodate” even without a demand for

an accommodation); Pierce, 128 F. Supp. 3d at 269 (finding “untenable” the

argument that “prison officials have no legal obligation to provide accommodations

for disabled inmates unless the inmate specifically requests such aid”). Thus,

Plaintiffs are likely to succeed on their ADA and Rehabilitation Act claims. 20

II.   Plaintiffs Will Suffer Irreparable Injury Absent an Injunction.

      The irreparable injury inquiry turns not on whether COVID-19 poses a

danger, which “it undoubtedly does.” Swain, 961 F.3d at 1292. Rather, the inquiry

is whether Plaintiffs face a risk of irreparable harm absent an injunction. Id. at 1293.


20
    Plaintiffs will respond by September 30 to the Non-Final Report and
Recommendation dismissing these claims. (Doc. 52.) The principal ground for the
recommended dismissal is that Plaintiffs failed to show disparate treatment and that
detainees with disabilities failed to request an accommodation. (Doc. 52 at 35-6.)
These conclusions are inconsistent with settled law. See, e.g., Schwarz, 544 F.3d at
1212 n.6; Holly v. Clairson Indus., L.L.C., 492 F.3d 1247, 1262 (11th Cir. 2007)
(explaining that a public entity is not insulated from liability under the ADA by
treating disabled people exactly the same as non-disabled people because
“uniformly-applied, disability-neutral policies . . . would utterly eviscerate [the]
ADA requirement [of reasonable accommodations]”); Todd v. Carstarphen, 236 F.
Supp. 3d 1311, 1328 n 33. (N.D. Ga. 2017) (recognizing that a specific demand for
an accommodation is unnecessary where the need for one is obvious).

                                          19
Here, they undoubtedly do because Defendants’ pandemic response has been, and

remains, insufficient and unreasonable.

     • Defendants regularly leave symptomatic people in overcrowded cells, where
       sick people infect others. (See Part A.1. supra.)

     • Defendants fail to provide tests to people who show COVID-19 symptoms.
       (See Part A.2. supra.)

     • Six months into the pandemic, Defendants still fail consistently to provide
       detainees with facemasks and have no functioning system to replace and clean
       them. (See Part A.3.a. supra; L.P. Decl. ¶ 4; F.B. Decl. ¶ 4.)

     • Defendants have failed to provide even minimally adequate cleaning supplies,
       such that detainees resort to using scraps of toilet paper, blankets, and their
       personal allotment of body soap to clean their cells. (See Part A.3.b-c. supra;
       Singleton Decl. ¶¶ 3, 6; M.B. Decl. ¶ 10; R.L. Decl. ¶ 19.)

     • Defendants have failed even to provide detainees with utensils for eating, such
       that detainees resort to the unsanitary practice of eating foods like rice,
       noodles, or eggs with their hands. (A.J.W. Decl. ¶ 8; G.W. Decl. ¶ 10.)

     • Defendants require detainees to congregate in close proximity during meal
       distribution, pill call, and video court. (See Part A.4. supra.) Social distancing
       protocols are still not enforced (see id.), and recent video evidence shows
       detained people crammed together in crowded hallways (Ex. D). 21




21
   Though not directly relevant to the COVID-19 response, Defendants have failed
to provide minimally adequate hygiene supplies, such that, for extended periods,
detained people lack basic items like toothbrushes (A.J.W. Decl. ¶ 9) (“I was unable
to brush my teeth for a week.”), and feminine hygiene products (F.S. Decl. ¶ 15)
(stating that she resorted to using a spare sheet as a sanitary napkin).

                                            20
      Defendants’ insufficient response endangers all detainees, cf. Swain, 961 F.3d

at 1293, but particularly those with health conditions that make them vulnerable to

serious illness from COVID-19. 22 Absent an injunction, there is an imminent risk

that more people will become infected. Some may suffer permanent injury or die.

      If Defendants’ real-life mitigation plan mirrored that described in Defendants’

legal briefs, and if there were a basis for believing Defendants would consistently

follow those policies going forward, an injunction might be unnecessary. But

detainees credibly report that those policies are not being followed, and Defendants’

misrepresentations regarding the existence of an outbreak (Doc. 19-1 at 15) and

misleading description of jail conditions undermine their claim that sufficient

mitigation strategies are in place.

      Defendants claim that there is no irreparable injury because the named

Plaintiffs have not been infected. (Doc. 41 at 33.) Even if that were true (it is not), 23

Plaintiffs need only show that they face an “actual and imminent” risk of becoming

infected absent an injunction. Swain, 961 F.3d at 1292. They have met this burden. 24


22
   See, e.g., Supp. Watkins Decl. ¶¶ 2-3 (stating that he is 61 and has diabetes); M.B.
Decl. ¶¶ 2, 12 (stating she is 52 and received chemotherapy for breast cancer); J.H.
Decl. ¶¶ 2, 6 (stating that he is 51 and has hypertension).
23
   Three of the named Plaintiffs experienced COVID-19-like symptoms but were not
tested. (Watkins Decl. ¶¶ 37-41; Singleton Decl. ¶ 10; Mitchell Decl. ¶¶ 13-14.)
24
   Swain does not compel a contrary result. In Swain, a district court’s irreparable-

                                           21
III.   The Balance of Harms Favors Plaintiffs.

       COVID-19 “unquestionably poses a serious threat” to jail detainees. Swain,

961 F.3d at 1293. That risk is heightened for people in the Clayton County Jail. Due

to Defendants’ unreasonable acts and omissions, Plaintiffs and the nearly 2,000

putative class members are at risk of contracting COVID-19 and experiencing

preventable serious illness and death on a massive scale. As a result, Defendants are

violating Plaintiffs’ federal rights, and “[c]ourts may not allow constitutional

violations to continue simply because a remedy would involve intrusion into the

realm of prison administration.” Brown v. Plata, 563 U.S. 493, 511 (2011).

       In contrast to the serious threat to detainees, an injunction would pose no

undue burden on Defendants’ legitimate interests. The proposed injunction (Doc.

19-15) would leave Defendants with responsibility for formulating “reasonably

specific and detailed written plans” in the first instance (id. ¶ 1). 25 Similarly, the



harm analysis was flawed because the court “opted not to resolve” certain factual
disputes regarding defendants’ alleged protective measures. Swain, 961 F.3d at
1293. Here, there is substantial evidence in the record regarding the inadequacy of
Defendants’ COVID-19 response, much of it undisputed, whereas Defendants’
submissions are unpersuasive and, in some instances, demonstrably false.
25
   See Thomas v. Bryant, 614 F.3d 1288, 1323 (11th Cir. 2010) (approving of seeking
proposed remedial plans from prison officials before entering injunction); LaMarca,
995 F.2d at 1543 (approving of injunction terms “to ensure that [certain] specific
policies were carried out [by prison staff]” as opposed to “the methods by which
[prison officials] effectuated these policies”).

                                          22
proposed order would not necessarily result in release of detainees but would require

only preliminary steps to “aid the Court’s evaluation of whether release and/or

enlargement is appropriate” (id. ¶¶ 6, 8-9) and a plan by Defendants to review (but

not necessarily discharge) detainees eligible for discretionary release (id. ¶ 7).

      Defendants argue that an injunction would interfere with the Sheriff’s

“flexibility” by “order[ing] the Sheriff to conform to standards on the day of entry”

of the injunction. (Doc. 41 at 36.) As noted above, however, the proposed

preliminary injunction allows Defendants to identify areas in which flexibility is

needed. 26   Thus, an injunction will not improperly restrain Defendants’ flexibility

but will merely keep it within constitutional bounds. Plata, 653 U.S. at 511 (“If

government fails to fulfill this obligation [to provide for prisoners’ basic needs], the

courts have a responsibility to remedy the resulting Eighth Amendment violation.”).

IV.   An Injunction Will Serve the Public Interest.

      It is well established that “the public interest is served when constitutional

rights are protected.” Jones v. Governor, 950 F.3d 795, 830 (11th Cir. 2020)




26
   Similarly, if an unforeseen problem arises after an injunction issues, the “settled
rule” is that “district courts retain power to modify injunctions in light of changed
circumstances.” Dombrowski v. Pfister, 380 U.S. 479, 492 (1965); see Plata, 563
U.S. at 542 (stating in prison-conditions case that district courts should “remain open
to a showing or demonstration by either party that the injunction should be altered”).

                                          23
(quoting Democratic Exec. Comm. v. Lee, 915 F.3d 1312, 1327 (11th Cir. 2019)).

That rule applies with particular force here, as “the integrity of the criminal justice

system depends on full compliance” with the proscription against cruel and unusual

conditions of confinement. Johnson v. California, 543 U.S. 499, 511 (2005).

      Defendants argue that a preliminary injunction would disserve the public

interest because it would require “immediate release” of detainees, certain detainees

may not “be able to protect themselves any better” outside of the Jail, and releasing

detainees would allegedly pose a “risk of danger to the public” because they have

“committed or allegedly committed a myriad of crimes.” (Doc. 41 at 37-38.)

Plaintiffs’ proposed injunction does not ask for “immediate release,” but provides

for release “where appropriate” and only if Defendants fail to “ensure that each

detainee no longer faces an unreasonable risk of injury or death.” (Doc. 19-15 ¶ 5.)

In all events, releasing detainees will not harm the public interest. 27 Defendants’

suggestion that detainees may not be able to “provide for their food and medical care

needs” or “protect themselves any better” from COVID-19 (Doc. 41 at 37) are


27
  See, e.g., Savino v. Souza, No. 20-CV-10617, 2020 WL 2404923, at *1 (D. Mass
May 12, 2020) (“[T]his injunction does not prohibit the government’s (and the
public’s) [interest in] confining those who are dangerous or flight risks. Yet, to the
extent it reduces the risk of an uncontainable outbreak in the facility, the injunction
secures the safety of the detainees, the guards and other staff, their families, and
ultimately the public at large.”).

                                          24
wholly speculative, and are factors that the Court could consider in determining

whether to release a particular detainee.       Irrespective of whatever hardships

detainees might face in the community, they would not be confined to a mismanaged

“incubator[] for the coronavirus.” (Rottnek Decl. ¶ 15.) Coreas v. Bounds, No. 20-

CV-780, 2020 WL 1663133, at *6 (D. Md. Apr. 3, 2020) (noting “the absurdity of

the claim that someone will be safer from a contagious disease while confined in

close quarters with dozens of other detainees and staff than while at liberty”).

      With respect to public-safety concerns, the proposed order provides for

identifying detainees deemed “unsuitable for release under any circumstances.”

(Doc. 19-15 ¶¶ 8-9.) If the Court finds it necessary to order the release of certain

detainees, it may consider public-safety concerns when making individualized

release decisions. Thus, a preliminary injunction would not harm the public interest.

                                  CONCLUSION

      The Court should grant Plaintiffs’ motion for a preliminary injunction.

                                                     Respectfully submitted,


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5.1C using 14-point Times New Roman font.

                                          /s/ Jeremy Cutting

September 24, 2020
                          CERTIFICATE OF SERVICE

      I certify that I filed the foregoing using the Court’s CM/ECF system, which

will send notification of filing to all counsel of record.

                                                /s/ Jeremy Cutting

September 24, 2020
